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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF OHIO Fx &
EASTERN DIVISION on, 4A 13 0
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RYAN D. MALONE CONETARICY
N% O;
Petitioner, On PF Gar
Gase No. 1:17-CV-2290
vs. Ref. No. 1:14-cR-438
UNITED STATES OF AMERICA -
Respondent. Judge « Bencra X. rEARS0N

 

PETITIONER'S REPLY TO THE GOVERNMENT'S RESPONSE TO HIS MOTION
TO VACATE PURSUANT TO 28 USC § 2255

 

Now Comes the Petitioner, RYAN D. MALONE, pro-se, and herein files his reply
to the government's response to his motion to vacate, correct, or set aside sen-
tence pursuant to 28 USC § 2255. The government's response makes some serious
errors of law, is contrary to the Supreme Court's Ruling in Descamps v. United
States, 133 S. Ct. 2276 (2013), and Taylor v. United States, 109 L. Ed 2d 607
(1990), in that adopting the government's veiw would mean totally ignoring the
Supreme Court clear direction as to the proper application of the categorical,
and modified categorical approach. Petitioner will fully explain these points
herein to show that Ohio Rev. Code Ann. § 2925.03(a)(2) can not possibly qualify

as a-controlled substance offense under the Guidelines

Secondly, this court is bound by the decision of the Ohio Supreme Court
that clearly states that the state of Ohio ‘only! voids post release control, and

never just terminated. This point will also be fully explained herein.

As an initial matter, petitioner must be clear that for any court to prop-
erly apply the categorical approach to a state statute and determine if it is
"either" a crime of violence, or a "controlled substance offense," the court must

"look only to the fact of conviction and the statutory definition of the prior

 

offense.'' See Taylor, 109 L. Ed. 2d 607. The court must then compare that state
Statute, and the states definitions, to the generic federal offense. See United
States v. Herrera, 375 F.3d 399, 403 (6th Cir. 2004); See also Moncrieffe v.
Holder, 133 §. Ct. 1678 (2013)("[A] state offense is a categorical match with a
federal generic offense only if a conviction of the state offense ‘necessarily

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involves facts equating to the generic federal offense."): But; the Supreme Court

 

has also made it perfectly clear that if.a state "statute sweeps more broadly than

 

the generic ¢rime, a conviction under that law cannot count as an ACCA predicate,
even if the defendant actually committed the offense in its generic form." See
Descamps, 133 S. Ct. 2276 (2013).

Now this circuit (and all circuits) have applied the categorical approach to
the term "controlled substance offense’' under The Sentencing Guidelines. See
Dowell v. Quintana, 2017 U.S. App. LEXIS 23409 (6th Gir. 2017). But in order to
do that, one must first determine what the federal generic “controlled substance
offense'"' is. This is because USSG § 4B1.2 defines "controlled substance offense"
as:

"an offense under federal or state law, punishable by imprisonment for a
term exceeding one year, that prohibits the manufacture, import, distri-
bution, or dispensing of a controlled substance(or counterfeit substance)"

" and

So it is clear that the Guidelines only covers "controlled substances,’
"counterfeit substances." But as explained in Descamps, if the state statute
"sweeps more broadly" than just ‘controlled substances" and "counterfiet substances"
a conviction under that statute can not be used as a predicate for enhancement

under USSG § 4B1.1, be cause it will not be a categorical match.

The Ohio drug trafficking statute does just that. It includes "analogs."
So when applying the -categorical approach, i.e. placing the Ohio statute side
by side with USSG § 4B1.2(b) it is plain for the eyes to see that ‘the inclusion
of "analogs" in the state statute dooms this statute as being a proper predicate

for enhancement: .

Now everybody knows that words have meanings. There is no "generic federal
offense" that defines ''analog'' as being a controlled substance. In fact 21 USC
§ 802(32)(C) specifically states that the term "controlled substance analog" does
not include a "controlled substance." Id. Additionally, the government has pointed
United States v. Smith, 681 F. App'x 483, 489 (6th Cir. 2017), which Looked at
the term "controlled substance analog," under 720 Illinois Compiled Statute § 570/
401, and ruled that:

 

"Because there is no requirement that the particular controlled substance
underlying a state conviction also be a controlled substance by the fed-
eral government, and because the Guidelines specifically include offenses
under state law in § 4B1.2, the fact that Illinois may have criminalized
the manufacture, import, export, distribution, or dispensing'' of some
substances that are not criminalized under federal law does not prevent
conduct prohibited under Illinois statute from qualifying, categorically

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as a predicate offense."

But this decision ignors :the central feature of the categorical approach. That is
that that the state charge/statute must be compared with the "federal generic
offense,'' and it must be determined if the statute sweeps more broadly than the
"generic federal offense." Simply saying that because it is a controlled substance

 

in the state, it can be used to enhance a federal sentence, was tried already by
the government in Esquivel-Quintana v. Sessions 137 S. Cts 1562 (2017). There,

 

the supreme rejected such reasoning by stating that?

~ "The government's definition turns. the categorical approach on its head

by defining the generic federal offense as whatever is illigal under the-

law of the State conviction.’
In other words, the proper applicationnof the categorical approach always requires
that the elements of the state offense be compared to the "generic federal offense."
See Taylor, 495 U.S., at 591, 110 S. Ct. 2143, 109 L. Ed 2d 607 (requiring "a clear
indication that ... Congress intended to abandon its general approach of using uni-
from categorical definitions to identify predicate offenses"), Id.; See also
Moncrieffe v. Holder, 569 U.S. 184 (2012)("Accordingly, a state offense is a cate-

gortical match with a generic federal offense only if a conviction of the state

 

offense necessarily involves. fact equating to the generic federal offense.''); and
United States v. Castleman, 188 L. Ed 2d 426 (2014)("We may accordingly apply the

modified categorical approach, consulting the indictment to which Castleman plead

 

guilty in order to determine whether his conviction did entail the:elements neces-

sary to constitute the generic federal: offense."')..

Under federal law and the categorical approach, a federal charge of possession
with intent to distribute a controlled substance, makes "cotrolled substance" .an
element of the offense that must be proven to a jury in order for the defendant
to be found guilty. See Mathis v. United States, 136 S. Ct. 2243 (2016)("Elements

are the constituent parts of a crime's legal definition -- the things the prosecu-
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tion must prove to sustain a conviction. At trial, they are what the jury must
find beyond a reasonable boubt to convict the defendant, and at a plea hearing,

they are what the defendant necessarily admits when he pleads guilty."). And, under
federal law, the federal generic offense must be for a substance that is a "control-
led substance” under the Controlled Substance Act. This means that under the Supreme
Court's ruling in Descamps, and Mathis, if the state punishes more substances than
are listed in the Controlled Substance Act, it sweeps more broadly than the federal

generic offense. and if the statute is divisible, the modified categorical approach

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oly allows the government to look at certain documents to determine which portion/
section of the statute the defendant was charged with violating. See : Mathis. It
is in this part of the analysis that the court in United States v. Smith, 681 F.
App'x 438, 489 (6th Cir. 2017) went astray. The court in Smith did not decide

whether Illinois statute was either "divisible" or "not divisible." That was the

 

first mistake in their application of the categorical approach. There next mistake
was stating, without any case law, or application note from the guidelines to
support sucha statement, that "Because there is no requirement that a particular
comntrolled substance underlying a state conviction aslo be a controlled substance

by the federal government ..."

it is a predicate offense. In other words, Smith
was denied the "due process" of having his prior state conviction subjected to a

true categorical analysis.

Lastly, even if the Illinois statute is divisible, the specific. section of that
statate that Smith plesad guilty to, like the specific Ohio statute that thie Movnt
plead guilty to, list "analogs" as an alternative means of committing the offense
of distributing marijuana. In fact every section of the statute includes a particu-
lar controlled substance, and that substances analog. There is no seperate section
of either the Illinois or Ohio statute that does not include the actual drug, and
that drug's analog. But, under the categorical approach we never get that far
simply because the statute is far broader than the generic federal offense, and
fot divisible, therefore the categorical approach, applied in the manner set fourth
by the Supreme Court in Taylor, Descamps, and Mathis, clearly shows that a convic-
tion under Ohio statute 2925.03(A)(2).is not a proper predicate under the Guidelines.

Law Of The Circuit Must Yeild To Clear Supreme Court Precedent

The proper way of applying the categorical approach by comparing the state
statute with the generic federal offense has been clearly set forth and reinforced
time and time again be the Supreme Court as evidence by wealth of Supreme Court
case law contained herein. These Supreme Court cases represent the highest control-
ling authority on the correct application of the categorical approach.

This court is not bound by any Circuit case law that applies the categorical

approach in a manner inconsistent with clear Supreme Court precident.
The Rule of Lenity Also Applies To This Petitioner's Argument

Since petitioner has supported his position with the very words of the United

States Supreme Court, if his argument and the argument the government makes is a

tie", or if there is any ambiguity, the rule of lenity requires that this court

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decide this issue in favor of this petitioner. See United States v. Ford, 560 F.
3d 420, 425 (6th Gir. 2009)("When ambiguity clouds the meaning of a criminal statute,
the tie must go to the defendant."). The ford court went on to make it clear that:

 

"A party's position in a case, even when that party is the United States, does not

dictate the meaning of federal law."

Therefore, in light of the above, this court should find that petitioner's
prior conviction for distribution of marijuana is not a proper predicate for en-

hancement under the Guidelines.

 

Ohio Post Release Control.

In regards to petitioner's issue that he was not under Post Release Control
because that portion of his State sentence was voided by the State. The government
puts all it's eggs in one basket by saying that the State sentencing court declined
to amend petitioner state judgment to clearly say that the Post Release Control.was

"void" means that the Post Release Control-was merely terminated, and not voided.

But the government's position ignores both Sixth Circuit precedent, and the
precedent of the Ohio State Supreme Court.

As petitioner pointed out that in United States v. Tally, 470 Fed. Appx. 495
(6th Cir. 2012), the Sixth Circuit Court of Appeals noted that::«

"4 a

 

-"The Ohio States Supreme Court in Ohio v. Fischer, 128 Ohio St. 3d 92. 2010
Ohio 6238 (Ohio 2010), explicitly held that the failure of a state trial
court to follow the correct statutory procedure for post-release control
void only that portion of the sentence that delt with post-release control"

The Sixth Circuit went on to say that:

"We simiarly hold that when a judge fails to impose statutorily mandated
post release control as part of a defendant's sentence, that part of the
sentence is void and must be set aside. Neither the [Ohio] Constitution

 

nor Common sence commands anything more." Id.

The governmant provides no case law from either the federal or state court that
controdict the clear statements by both the Ohio State Supreme Court and the Sixth
Circuit. The government knows or should know the meaning of the word void because
that meaning has never changed. "'Void_ means "ineffectual; nugatory; having no
legal force or binding effect; unable in law to support the purpose for which it
was intended See Black's Law 6th Ed., pg. 1573.

 

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Again, this petitioner has cited the highest controlling authority, which is
binding on this court. And again, if there is any ambiguity, it should be resolved
in favor of petitioner. Therefore, this court should grant all of the relief re-

quested in petitioner's § 2255 petition.

Respectfully Submitted:

Kyom D Un lone.

Ryan D. Malone, prose
Reg. No. 30802-160
FCL Gilmore

P.O. Box 6000
Glenville, WV 26351

 

CERTIFICATE OF SERVICE

I certify that I have placed a copy of this Reply to the Government's Response
in the institutional legal mail, for delivery by the United States Postal Service
to the United States District Court for the Northern District of Ohio, in a
sealed envelope, with postage pre-paid, and an additional copy sent to all parties

whose names and. addresses appear below, on this \o™ day of Aor i | ,

2018.

Elliot Morrison

Assistant United States Attorney
United States Courthouse

801 West Superior Ave., Suite 400
Cleveland, OH 44 113

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Ryan I}. Malone

 
